                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             No. 5:17-CR-169-2H
                              No. 5:18-CV-593-H

JASON JEQUAN POWELL,                  )
     Petitioner,                      )
                                      )
                                      )
     v.                                                  ORDER
                                      )
                                      )
UNITED STATES OF AMERICA,             )
     Respondent.                      )


     This matter is before the court on petitioner’s motion to

vacate under 28 U.S.C. § 2255, [DE #82], and the government’s

motion    to    dismiss   petitioner’s    motion   to   vacate,   [DE   #89].

Petitioner responded, [DE #108], and filed a motion to amend his

§ 2255 motion, [DE #109], which contents are considered herein.

Petitioner also filed two letters requesting a status update and

appointment of counsel.       [DE #119 and DE #120].      The requests for

counsel are DENIED.       This matter is ripe for adjudication.

                                 BACKGROUND

               On September 11, 2017, pursuant to a signed Memorandum

of Plea Agreement, petitioner pled guilty to conspiracy to commit

interference with commerce by robbery, in violation of 18 U.S.C.

§ 1951(b)(1) (Count One).       Petitioner was sentenced by this court

to a term of imprisonment of 156 months on January 10, 2018.

Petitioner filed a notice of appeal, arguing through counsel that



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he was improperly sentenced as a career offender because his

offense of conviction, conspiracy to Hobbs Act Robbery, was not a

crime    of   violence   under    United      States    Sentencing   Guidelines

(“USSG”) § 4B1.2(a)(1) or (a)(2).             [DE #66 and No. 18-4060 DE #16

at 7, 13-18].    The appeal was dismissed by the Fourth Circuit Court

of Appeals based on petitioner’s appeal waiver.                [DE #78 and No.

18-4060 DE #23 Appellee’s Brief].

     On December 17, 2018, petitioner filed the instant motion to

vacate   pursuant   to   28    U.S.C.   § 2255,     [DE    #82],   arguing   that

Conspiracy to Commit Hobbs Act Robbery no longer qualifies as a

crime of violence to support his designation as a career offender

pursuant to USSG § 4B1.1(a)(2).             [DE #82, #108, #109].     He relies

on Sessions v. Dimaya, 138 S. Ct. 1204 (2018) (invalidating the

residual clause of 18 U.S.C. § 16(b)) and United States v. Davis,

139 S. Ct. 2319 (2019) (invalidating the residual clause of 18

U.S.C. § 924(c)(3)(B)), as well as the fact that a conspiracy

conviction has no overt act to support his argument.                   [DE #82,

#108, and DE #109].           The government moves to dismiss, arguing

petitioner fails to state a claim upon which relief may be granted

due to vague and conclusory allegations and the existence of a

valid appeal waiver in this matter.             [DE #90].

                                 COURT’S DISCUSSION

     As argued by the government, petitioner’s claims are barred

by a valid appeal waiver in this matter.               A criminal defendant may

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waive his right to appeal or collaterally attack his conviction

and sentence.         United States v. Lemaster, 403 F.3d 216, 220 (4th

Cir. 2005).         Appeal waivers are valid and enforceable where they

are knowingly and voluntarily made. Id.

      Here, Petitioner’s plea agreement included a provision

wherein Petitioner agreed to waive

      knowingly and expressly all rights . . . to appeal [his]
      conviction and whatever sentence is imposed on any
      ground, including any issues that relate to the
      establishment of the advisory Guideline range, reserving
      only the right to appeal from a sentence in excess of
      the applicable advisory Guideline range that is
      established at sentencing, and further to waive all
      rights to contest the conviction or sentence in any post–
      conviction proceeding, including one pursuant to 28
      U.S.C. § 2255, excepting an appeal or motion based upon
      grounds of ineffective assistance       of   counsel   or
      prosecutorial misconduct not known to [Petitioner] at
      the time of [Petitioner’s] guilty plea.

[DE #42 at 1-2].


      Finding the Fourth Circuit already found the appeal waiver to

be valid and finding that the issues raised fall squarely within

the   scope    of     the   valid    appeal    waiver   in   petitioner’s    plea

agreement, petitioner’s 2255 motion must be dismissed.

                                     CONCLUSION

      For     the    foregoing      reasons,   the   government’s   motion     to

dismiss, [DE #89], is GRANTED, and petitioner’s motion to vacate,

[DE #82], is DISMISSED.          Petitioner’s motion to amend, [DE #109],

is hereby GRANTED.          The clerk is directed to close this case.


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     A certificate of appealability shall not issue absent "a

substantial showing of the denial of a constitutional right."                  28

U.S.C. § 2253(c)(2).           A petitioner satisfies this standard by

demonstrating      that    reasonable       jurists     would   find    that   an

assessment of the constitutional claims is debatable and that any

dispositive procedural ruling dismissing such claims is likewise

debatable.      Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003);

Slack v. McDaniel, 529 U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d

676, 683 (4th Cir. 2001).        A reasonable jurist would not find this

court's     dismissal     of   Petitioner's     §     2255   Motion    debatable.

Therefore, a Certificate of Appealability is DENIED.

     This 5th day of May 2020.



                                _______________________________________
                                MALCOLM J. HOWARD
                                Senior United States District Judge
At Greenville, NC
#35




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